Case 1:15-cr-21004-CMA Document 4 Entered on FLSD Docket 01/12/2016 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                            CASE NO. 15-21004-CR-ALTONAGA

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 STEPHEN M. COSTA,

       Defendant.
 ________________________________/

                     ORDER SETTING CHANGE OF PLEA HEARING

        THIS CAUSE is set for a change of plea hearing on Tuesday, January 26, 2016 at 9:30

 a.m. At the conclusion of the hearing, the parties will be advised of the date of the sentencing

 hearing. Counsel are informed that defendants are expected to voluntarily surrender the date of

 sentencing should their sentences include incarceration.      Extended surrender will not be

 considered unless a defendant is actively cooperating with the Government and the Government

 requests an extension of a defendant’s surrender date.

        DONE AND ORDERED in Chambers at Miami, Florida this 12th day of January, 2016.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
